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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION


UNITED STATES OF AMERICA

v.                                               Case No. 5:21cr21-TKW/MJF-1

MUHUMMAND WASHINGTON
                                       /

                   ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, MUHUMMAND WASHINGTON, to Count One of the Information is

hereby ACCEPTED. All parties shall appear before this Court for sentencing as

directed.

       DONE and ORDERED this 8th day of August, 2022.




                                     __________________________________
                                     T. KENT WETHERELL, II
                                     UNITED STATES DISTRICT JUDGE
